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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF COLUMBIA

ALEX EMRIC JONES,                        :
c/o Pattis & Smith                       :
383 Orange Street                        :
New Haven, CT 06511                      :
                                         :
               Plaintiff,                :       Dkt. No.:
                                         :
v.                                       :
                                         :
SELECT COMMITTEE TO                      :
INVESTIGATE THE JANUARY 6                :
ATTACK ON THE UNITED STATES              :
CAPITOL;                                 :
                                         :       :
NANCY PELOSI, in her official            :
capacity as Speaker of the U.S.          :
House of Representatives;                :
                                         :
BENNIE G. THOMPSON, in his official :
capacity as Chair of the Select          :
Committee To Investigate the January :
6th attack on the United States Capitol; :
                                         :
ELIZABETH L. CHENEY, in her official :
Capacity as a member of the U.S.         :
House of Representatives;                :
                                         :
ADAM B. SCHIFF, in his official          :
Capacity as a member of the U.S.         :
House of Representatives;                :
                                         :
JAMES B. RASKIN, in his official         :
Capacity as a member of the U.S.         :
House of Representatives;                :
                                         :
SUSAN E. LOFGREN, in her official        :
capacity as a member of the U.S.         :
House of Representatives;                :
                                         :
ELAINE G. LURIA, in her official         :
capacity as a member of the U.S.         :
House of Representatives;                :
                                         :



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PETER B. AGUILAR, in his official          :
capacity as a member of the U.S.           :
House of Representatives;                  :


STEPHANIE MURPHY, in her official          :
Capacity as a member of the U.S.           :
House of Representatives;                  :
                                           :
ADAM D. KINZINGER, in his official         :
capacity as a member of the U.S.           :
House of Representatives;                  :
                                           :
              Defendants.                  :       December 20, 2021


                                       COMPLAINT

      1.      This is an action to protect individual liberties and rights as old as the United

States Constitution itself, rights that the United States Congress now seeks to suspend

in coercive secret proceedings specifically designed to satiate a political witch hunt,

bypass constitutional safeguards, and hijack the role of the Executive Branch while

threatening criminal prosecution against anyone who dares to assert his rights and

liberties against its demands. Alex Jones seeks declaratory and injunctive relief.

                                         PARTIES

      2.       The Plaintiff, Alex Jones, is a controversial American journalist, political

commentator, activist, and businessman. He hosts a worldwide radio and television show

– The Alex Jones Show – and operates a media company, Infowars.

      3.      The Defendant – the Select Committee to Investigate the January 6th Attack

on the United States Capitol – is a congressional committee ostensibly organized and

operating under cloak of the Rules of the United States House of Representatives.




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       4.      Defendant Nancy Pelosi (“Speaker Pelosi”) is a Democrat member of the

United States House of Representatives and its current speaker. She is sued in her official

capacity only.

       5.        Defendant Bennie G. Thompson (“Chairman Thompson”) is a Democrat

member of the United States House of Representatives and the Chairman of the Select

Committee to Investigate the January 6th Attack on the United States Capitol. He is sued

in his official capacity only.

       6.      Defendant Elizabeth L. Cheney is purportedly a Republican member of the

United States House of Representatives and a member of the Select Committee to

Investigate the January 6th Attack on the United States Capitol. She is sued in her official

capacity only.

       7.      Defendant Adam B. Schiff is a Democrat member of the United States

House of Representatives and a member of the Select Committee to Investigate the

January 6th Attack on the United States Capitol. He is sued in his official capacity only.

       8.      Defendant James B. Raskin is a Democrat member of the United States

House of Representatives and a member of the Select Committee to Investigate the

January 6th Attack on the United States Capitol. He is sued in his official capacity only.

       9.      Defendant Susan E. Lofgren is a Democrat member of the United States

House of Representatives and a member of the Select Committee to Investigate the

January 6th Attack on the United States Capitol. She is sued in her official capacity only.

       10.     Defendant Elaine G. Luria is a Democrat member of the United States

House of Representatives and a member of the Select Committee to Investigate the

January 6th Attack on the United States Capitol. She is sued in her official capacity only.




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       11.    Defendant Peter R. Aguilar is a Democrat member of the United States

House of Representatives and a member of the Select Committee to Investigate the

January 6th Attack on the United States Capitol. He is sued in his official capacity only.

       12.    Defendant Stephanie Murphy is a Democrat member of the United States

House of Representatives and a member of the Select Committee to Investigate the

January 6th Attack on the United States Capitol. She is sued in her official capacity only.

       13.    Defendant Adam D. Kinzinger is purportedly a Republican member of the

United States House of Representatives and a member of the Select Committee to

Investigate the January 6th Attack on the United States Capitol. He is sued in his official

capacity only.

                                     JURISDICTION

       14.    This Court has jurisdiction under 28 U.S.C. §§ 1331 and 2201 as well as

the principles established in Bivens v. Six Unknown Named Agents of Federal Bureau of

Narcotics, 403 U.S. 388 (1971). Venue is proper under 28 U.S.C. § 1391.

                                FACTUAL ALLEGATIONS

                                      Background.

       15.    On November 3, 2020, the United States held a general election, and

Democrat Joseph R. Biden, Jr., was declared the winner of the presidential race.

       16.    In the aftermath of Election Day, President Donald J. Trump, his campaign,

and prominent national political commentators raised questions about electoral

misconduct including voter fraud, claimed irregularities with voting machines, and alleged

mishandling of mail-in ballots – questions all fairly prompted by the first mass mail-in

voting presidential election.




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      17.    Under the requirements of the United States Constitution, both houses of

the United States Congress scheduled themselves to convene in a joint session on

January 6, 2021 to receive and certify the votes of the Electoral College.

      18.    President Trump and his supporters protested that the election had been

stolen, and various supporters of President Trump began to organize protests in

Washington D.C. opposing the certification of the Electoral College votes and voicing

displeasure with President Biden, the Democrat Party, its leadership, and their policy

proposals.

      19.    In a well-known episode on January 6, 2021, a large group of protestors in

Washington, D.C. entered the United States Capitol, breached security, and disrupted the

counting of the Electoral College votes until order was restored. The United States

Department of Justice has arrested and charged more than 500 individuals in connection

with the activities on January 6, 2021 including an employee of Plaintiff Jones’ company

– Owen Shroyer.

                         Formation of The Select Committee.

      20.    In the aftermath of Congress’ second failed attempt to impeach President

Trump and after he left office, the House of Representatives explored mechanisms for

investigating the January 6 protests.

      21.    On June 30, 2021, the House approved H. Res. 503 – a resolution

introduced by Speaker Pelosi – on a partisan vote of 222 yeas and 190 nays. Only two

Republicans, Defendant Cheney and Defendant Kinzinger, voted in favor of it.

      22.    H.R. 503 established the following purposes for the Committee:




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             a. “To investigate and report upon the facts, circumstances, and causes

                relating to the January 6, 2021, domestic terrorist attack upon the United

                States Capitol Complex (hereafter referred to as the “domestic terrorist

                attack on the Capitol”) and relating to the interference with the peaceful

                transfer of power, including facts and causes relating to the

                preparedness and response of the United States Capitol Police and

                other Federal, State, and local law enforcement agencies in the National

                Capital Region and other instrumentalities of government, as well as the

                influencing factors that fomented such an attack on American

                representative democracy while engaged in a constitutional process.

             b. “To examine and evaluate evidence developed by relevant Federal,

                State, and local governmental agencies regarding the facts and

                circumstances surrounding the domestic terrorist attack on the Capitol

                and targeted violence and domestic terrorism relevant to such terrorist

                attack.

             c. “To build upon the investigations of other entities and avoid unnecessary

                duplication of efforts by reviewing the investigations, findings,

                conclusions, and recommendations of other executive branch,

                congressional, or independent bipartisan or nonpartisan commission

                investigations into the domestic terrorist attack on the Capitol, including

                investigations into influencing factors related to such attack.”

      23.    Among other things, the Select Committee has been tasked with

investigating “the facts, circumstances, and causes relating to the domestic terrorist




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attack on the Capitol, including facts and circumstances relating to… influencing factors

that contributed to the domestic terrorist attack on the Capitol and how technology,

including online platforms, financing, and malign foreign influence operations and

campaigns may have factored into the motivation, organization, and execution of the

domestic terrorist attack on the Capitol, and other entities of the public and private sector

as determined relevant by the Select Committee for such investigation.”

       24.    The Select Committee is also tasked with issuing a final report to the House

containing its findings, conclusions, and recommendations for corrective measures to

prevent future incidents similar to January 6, 2021. It, however, is forbidden to hold

markups of legislation – the usual process by which legislation is developed in the House

of Representatives.

     Selection of the Select Committee’s Membership & Purported Leadership
                                    Formation

       25.    H. Res. 503 requires Speaker Pelosi to appoint 13 members to the Select

Committee and to consult with the minority leader about 5 of the 13 appointments. It also

requires her to designate one Member to serve as chair of the Select Committee.

       26.    As of this date, Speaker Pelosi has only appointed 9 members to the Select

Committee. The Democrat members of the Select Committee are Rep. Susan Lofgren of

California, Rep. Elaine Luria of Virginia, Rep. Adam Schiff of California, Rep. Peter Aguilar

of California, Rep. Stephanie Murphy of Florida, and Rep. James Raskin of Maryland.

The Republican members of the Select Committee are Rep. Elizabeth Cheney of

Wyoming and Rep. Adam Kinzinger of Illinois. Speaker Pelosi has not made any efforts

to comply with her obligation to appoint the remaining four members of the Select

Committee.



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        27.   Speaker Pelosi designated Chairman Thompson to serve as the Chair of

the Select Committee.

        28.   Speaker Pelosi’s actions both flout the requirements of H. Res. 503 and

longstanding House practices. House Minority Leader Kevin McCarthy recommended five

Republican members to serve on the Select Committee as H. Res. 503: Rep. Jim Banks

of Indiana, Rep. Rodney Davis of Illinois, Rep. Jim Jordan of Ohio, Rep. Kelly Armstrong

of North Dakota, and Rep. Troy Nehls of Texas. He designated Rep. Banks as the

Republican’s Party’s ranking minority member.

        29.   Speaker   Pelosi   did   not       appoint   any   of   Leader   McCarthy’s

recommendations. In a public statement on July 21, 2021, she stated that objections had

been raised about Representatives Banks and Jordan and the fact that their presence on

the Select Committee may impact the “integrity of the investigation.” Instead, she

indicated a willingness to appoint Representatives Davis, Armstrong, and Nehls, and she

asked him to recommend two additional members. She characterized her decision as

“unprecedented.” 1

        30.   Despite her public statement, Speaker Pelosi has never appointed

Representatives Davis, Armstrong, and Nehls to the Select Committee. Instead, she

unilaterally appointed Representatives Cheney and Kinzinger over Leader McCarthy’s

objections – something that H. Res. 503 never contemplated and that she herself has

acknowledged is unprecedented.




1   https://www.speaker.gov/newsroom/72121-2

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        31.   On September 2, 2021, Chairman Thompson announced that he appointed

Defendant Cheney to serve as the Vice Chair of the Select Committee despite being

unable to point to any authority that empowered him to do so. 2

     Activities Of The Select Committee & Its Systematic Violation of House Rules

        32.   Since its formation, the Select Committee has issued numerous subpoenas

to compel deposition testimony and document production. These actions have

systematically violated H. Res. 503 and the House of Representatives Rules.

        33.   H. Res. 503, § 503 requires the Select Committee chair to confer with the

ranking minority members prior to ordering the taking of depositions pursuant to a

subpoena in a manner consistent with H. Res. 8, § 3(b)(1) of the 117th Congress, which

establishes rules for the use of deposition authority. Those rules require the ranking

minority to receive three days’ notice before a deposition is taken as well as permit

counsel designated by the ranking minority member to question the witness. See Exhibit

A.

        34.   The Select Committee has never had a ranking minority member. Each of

the two political parties in Congress have rules and procedures governing how their

ranking minority members are designated. For the Republican Party, those rules establish

crystal clear procedures for appointing ranking members. 3 Rule 14(a) of the Republican

Conference Rules of the 117th Congress provides that the Republican Steering




2 https://january6th.house.gov/news/press-releases/chairman-thompson-announces-
representative-cheney-select-committee-vice-chair
3 Rule 2(d)(2) of the Republican Conference Rules of the 117th Congress establishes

the same rules for the appointment of the ranking Republican minority members as it
does for committee chairs.

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Committee must nominate ranking members who then must been approved by the full

Republican House Conference. See Exhibit B.

       35.    By rule and the customs, traditions, and precedents of the House, each

party retains the right, in line with its own internal processes, to designate committee

chairs and ranking members, and the other party cannot usurp that authority.

       36.    The House Republican Steering Committee has never voted to appoint

Defendant Cheney or Defendant Kinzinger to the position of minority ranking member on

the Select Committee, and the House Republican Conference has never voted to approve

such an appointment.

       37.    Chairman Thompson has sought to circumvent House rules, customs,

precedents, and traditions by appointing Defendant Cheney as Vice-Chair of the Select

Committee despite having no authority to do so.

       38.    A question exists as to whether Defendant Cheney is still a member of the

Republican Party. The Wyoming Republican Party has expelled her as a member, and

Chairman Thompson’s act of appointing her to the position of Vice Chair confirms under

House Rules that she is a member of the Democrat party because House Rule XI(2)(d)

states that vice chairs are to be members of the majority party. See Exhibit C.

       39.    The lack of a minority ranking member on the Select Committee since its

existence renders it impossible for Chairman Thompson to confer with the minority

ranking member before issuing deposition subpoenas, thus violating H. Res. 503 and

house rules for the taking of depositions.




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       40.     Every deposition subpoena that Chairman Thompson has issued pursuant

to H. Res. 503 is null and void because he has not conferred with a ranking minority

member.

  The Select Committee Seeks To Uncover Information To Criminally Prosecute
                           United States Citizens

       41.     The Select Committee has no intention of preparing reports for the purposes

of future legislation, nor does it have any authority to propose and report legislation to the

full House of Representatives.

       42.     The Select Committee and its members consider themselves and most of

the other members of Congress victims of domestic terrorism. They also consider a small

minority of Congressmen and Senators as well as Donald Trump to be domestic terrorists.

       43.     The Select Committee and its members purport to be investigating “a

domestic terrorist attack,” and Select Committee members have littered the public record

with comments indicating that they are primarily working to expose matters for the mere

sake of exposing them and to secure individual determinations of guilt or innocence – an

activity squarely within the providence of the Article II executive and the Article III judiciary:

               a. In a series of public statements since the Select Committee’s inception,

                  Chairman Thompson and Defendant Cheney have articulated three

                  purposes of its work: (1) to ensure “those responsible are held

                  accountable,” (2) to “tell[] the complete story of the unprecedented and

                  extraordinary events of January 6th,” and (3) to “get answers for the

                  American people about what happened on January 6th.” The Law

                  Enforcement Experience on January 6th: Hearing Before the H. Select

                  Committee to Investigate the January 6th Attack on the United States



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                  Capitol, 117th Cong. (2021) (Statement of Elizabeth Cheney,

                  ViceChair); Press Release, Thompson & Cheney Statement on

                  Pentagon Officials’ Reported Actions After January 6th (Sept. 16, 2021);

                  Press Release, Thompson Statement on Cooperation of Witnesses

                  (Oct. 14, 2021).

               b. On November 10, 2021, Chairman Thompson made the following public

                  comments about Select Committee efforts to obtain documents from

                  President Trump’s administration: “If we have access to the records,

                  they’ll speak for themselves. So we look forward, as a committee, to

                  getting it. And we’ll let the evidence based on what we look at determine

                  guilt or innocence.”4

               c. On December 1, 2021, Chairman Thompson made the following

                  comments about witnesses subpoenaed by the Select Committee

                  asserting their Fifth Amendment right to remain silent: “But you know, if

                  you say you haven’t done anything wrong, but on the other hand, you

                  want to assert the Fifth Amendment in terms of self-prosecution, it says

                  that you have something to hide. So we’re going to give him an

                  opportunity to do it. He can do it and it will be under oath and he is still

                  subject to certain penalties should he decide to not tell us anything. If he




4   https://www.yahoo.com/now/judge-denies-trump-effort-shield-023557589.html

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                    is saying ‘I’ll come but I’ll plead the Fifth,’ in some instances that says

                    you are part and parcel guilty to what occurred.” 5

       44.     On December 13, 2021, Defendant Cheney publicly articulated the main

focus of the Select Committee’s “investigation” in the Select Committee’s hearing on

whether to hold former White House Chief of Staff Mark Meadows in contempt after he

asserted various privileges that the Select Committee rejected: “Mr. Meadows’ testimony

will bear on a key question in front of this committee: Did Donald Trump, through action

or inaction, corruptly seek to obstruct or impede Congress’ official proceeding to count

electoral votes?”

       45.     Defendant Cheney’s statement practically quotes from 18 U.S.C. § 1505,

Clause 2, which criminalizes corrupt obstruction of Congress by force under the penalty

of fines and, in the case of claimed domestic terrorism, up to 8 years of incarceration.

       46.     On December 14, 2021, the House held Meadows in contempt for asserting

legal claims of privilege.

       47.     The Select Committee has not focused on President Trump alone. They

have targeted other protestors for similar investigation and criminal referrals under 18

U.S.C. § 1505.

             A Continuation Of Impeachment & A Well-Rehearsed Playbook

       48.     Since the House first impeached Donald Trump in December 2019 and

failed in February 2020, House Democrats have repeatedly cast themselves as victims in

a tragedy.



5

https://www.realclearpolitics.com/video/2021/12/02/january_6_committee_chairman_be
nnie_thompson_if_you_plead_the_fifth_youre_part_and_parcel_guilty.html

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       49.    As Defendant Schiff documents, they began to plan their revenge on Donald

Trump and his political allies while still huddled in a Congressional safe room on January

6, 2021. See Adam B. Schiff, Midnight in Washington, p. 11 (2021). In doing so, they

clearly contemplated criminal charges against Donald Trump and his allies regardless of

whether they had a basis for them

       50.    As the lead impeachment manager in Trump’s first impeachment trial,

Defendant Schiff completed a playbook on how to conduct Congressional prosecutions

that he had been writing for decades.

       51.    Schiff’s playbook emphasizes a draconian use of Congress’s coercive

powers to bypass assertions of constitutional rights. The key features of it are:

              a. Refuse to resolve assertions of privilege in court. Adam B. Schiff,

                 Midnight in Washington, p. 230 (2021).

              b. Create public crimes of obstruction for assertions of constitutional and

                 common law privileges. Id. at p. 230.

              c. Attach a presumption of guilt to assertions of constitutional and common

                 law privileges. Id. at p. 230.

              d. Demand information about virtually every part of a witness’s life,

                 including information that is constitutionally protected.

       52.    Schiff’s playbook also includes old-fashioned machinations as well, such

as:

              a. Issue last minute subpoenas to closed-door proceedings.

              b. Force witnesses to testify in depositions without being fully prepared with

                 the intention of creating perjury traps.




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              c. Leak selectively from closed door proceedings or quote selectively from

                 evidence gathered so as to create public clamor for criminal or political

                 prosecutions and destroy hostile witnesses’ reputations.

       53.    The Select Committee has adopted all of these tactics in its treatment of

private citizens with the express goal of teeing them up for criminal prosecution.

                      The Select Committee Targets Alex Jones.

       54.    On November 22, 2021, Chairman Thompson issued a subpoena to Alex

Jones ordering to produce documents to the Select Committee by December 6, 2021 and

to testify at a deposition before the Select Committee on December 18, 2021. See Exhibit

D. At the request of Jones’ counsel, these initial dates have been postponed.

       55.    As the factual basis for its subpoena, it cites statements made by Jones

indicating that he assisted in organizing the January 6, 2021 protest held at the Ellipse in

Washington, D.C., that President Trump’s campaign asked him to led a march to a

permitted protest area at the United States Capitol to hear President Trump speak, that

he had assisted in securing funding for various permitted protests throughout

Washington, D.C., and that the January 6th protests would be “wild.” It also cites

recordings in which Jones encouraged people at the Capitol to remain peaceful, act

lawfully, and gather to hear President Trump’s second speech.

       56.    The Select Committee has requested countless documents that Jones

possesses for various subjects including about his participation in legally permitted

protests in Washington, D.C., financial transactions pertaining to those protests, and

documents sufficient to determine how he promoted the protests. See Exhibit D.

       57.    Through counsel, Jones has raised a number of constitutional objections to

both the deposition subpoena and the document subpoena. However, Jones has offered


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to submit documents and answer written questions with written responses. The Select

Committee has refused to accept that offer and insists that he appear in person for a

deposition in Washington, D.C. on January 10, 2022. Jones has notified the Select

Committee that he intends to plead his right to remain silent under the Fifth Amendment.

The Select Committee has suggested that it may turn to the courts to seek a grant of

immunity for Jones and other witnesses.

       58.    Jones further informed the Select Committee that he will raise First

Amendment objections as appropriate when the Select Committee seeks to inquire as to

journalistic activities as well as protected speech and political activity. Jones will also

assert his Fifth Amendment rights to due process.

       59.    With respect to his deposition subpoena, Jones has informed the Select

Committee that he will assert his First, Fourth, and Fifth Amendment rights to decline to

produce the documents requested by the Select Committee, asserting that he engaged

in constitutionally protected political and journalistic activity under the First Amendment,

that the Fourth Amendment guarantees him a right of privacy in his papers, and that he

is entitled to due process and the right to remain silent under the Fifth Amendment.

       60.    Counsel for the Select Committee has disputed Jones’ assertion of these

rights and whether Jones has any grounds for asserting any of these rights before the

Select Committee on any questions whatsoever.

       61.    On November 24, 2021, the Select Committee also issued a subpoena to

AT&T for comprehensive information pertaining to Jones’ telecommunications from

November 1, 2020 to January 31, 2021 – the full copy of which Jones is unable to locate.

See Exhibit E. Upon information and belief, the Select Committee has requested virtually




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every phone call and text that Jones made for the requested time period and data

associated with those phones calls and texts.

       62.    Jones has good and substantial reason to fear that the Select Committee

may cite him for contempt of Congress if he refuses to answer its questions on grounds

of constitutional privilege.

       63.    After extensive discussions between Jones’ counsel and counsel for the

Select Committee, the Select Committee offered Jones the opportunity to speak to its

investigators informally about certain limited topics. Jones seriously considered this offer,

but he ultimately rejected it for the following reasons:

              a. The Select Committee has not treated others that it has offered the same

                  deal to fairly and with respect.

              b. The Select Committee’s members have made it abundantly clear that

                  they are only interested in prosecuting political adversaries.

       The Consequences of the House Holding Jones In Criminal Contempt.

       64.    Under 2 U.S.C. § 192, a person who willfully fails to comply with a

Congressional subpoena or refuses to answer questions faces the possibility of a

misdemeanor conviction carrying a mandatory minimum of one month’s incarceration

and a maximum of 12 months’ incarceration. People can also be fined up to $1,000.

       65.    Both Houses of Congress have also exercised historically inherent

contempt power to unilaterally arrest and imprison an individual found to be obstructing

Congress’ performance of its duties. Jurney v. MacCracken, 294 U.S. 125 (1935).

       66.    Thus, Jones stands in an unconscionable position. If he exercises his

constitutional rights, he could be criminally charged and imprisoned before this Court for

merely claiming them without receiving a determination as to the extent to which he may


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properly exercise them. Likewise, the House itself may choose to try him and imprison

him for asserting his constitutional rights without ever affording him an independent and

fair tribunal or an opportunity to obtain a judicial determination as to the assertion of his

rights.

  COUNT ONE – VIOLATION OF ARTICLE I, §§ 1, 8 OF THE U.S. CONSTITUTION

          67.   Paragraphs 1 through 66 are incorporated herein.

          68.   Authorized congressional committees have implied subpoena authority

under Article I, §§ 1 and 8 of the Constitution. McGrain v. Daugherty, 273 U.S. 135 (1927).

          69.   Article III courts have jurisdiction over congressional actions that fail to

observe its own rules. See Yellin v. United States, 374 U.S. 109, 114 (1963) (compiling

cases). This jurisdiction takes on a special consideration when a person’s rights are at

stake.

          70.   As pled previously, Speaker Pelosi has continuously failed to comply H.

Res. 503 in assembling the Select Committee and, to this day, has not cured her failures.

Her failures include:

                a. Failing to appoint the requisite number of members (13) as mandated

                   by H. Res. 503;

                b. Failing to appoint the proper apportionment of members (8 Democrats

                   and 5 Republicans) as mandated by H. Res. 503;

                c. Purporting to appoint Defendant Cheney and Defendant Kinzinger as

                   Republican members of the Select Committee over the House

                   Republican Conference’s objection and despite the fact that Defendant

                   Cheney has been expelled from the Wyoming Republican Party;




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              d. Failing to appoint Reps. Davis, Armstrong, and Nehls to the Select

                 Committee despite her promise to do so and House Minority Leader

                 Kevin McCarthy’s recommendation that she do so.

              e. Declining to appoint Reps. Banks and Jordan to the Select Committee

                 in violation of longstanding House traditions, precedents, rules, and

                 customs despite House Minority Leader Kevin McCarthy’s designation

                 of Rep. Banks as the ranking minority member; and

              f. Failing to confer with House Minority Leader Kevin McCarthy on the

                 appointment of Republican members of the Committee.

       71.    As pled previously, Chairman Thompson and the Select Committee have

continuously and repeatedly violated H. Res. 503 and other House rules by:

              a. Operating without the appointment of all 13 members of the Committee

                 as required by H. Res. 503;

              b. Purporting to appoint Defendant Cheney as Vice Chair of the Select

                 Committee to circumvent the House rules regarding the minority ranking

                 member;

              c. Issuing subpoenas, including to Alex Jones, without consulting with a

                 minority ranking member as required by H. Res. 503 and House rules.

       72.    The Defendants have issued subpoenas to Alex Jones without complying

with H. Res. 503 and House Rules under the form of a committee, which has not been

constituted according to its authorizing resolution.

       73.    The Defendants now threaten to hold Alex Jones in criminal contempt of

Congress for asserting his constitutional rights and legal objections to being compelled




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to answer to an unlawfully constituted Congressional committee that has violated House

Rules.

       74.      The Defendants’ conduct violates Article I, §§ 1, 8 of the United States

Constitution.

 COUNT TWO – VIOLATION OF THE SEPARATION OF POWERS CONTAINED IN
                      THE U.S. CONSTITUTION

       75.      Paragraphs 1 through 74 are incorporated herein.

       76.      The United States Constitution divides the powers of government into three

branches of government: the legislature, the executive, and the judiciary.

       77.      Congress does not have freewheeling power to investigate just for the sake

of investigating or for purposes that belong exclusively to the executive branch. Instead,

its investigative powers are inseparable from its legislative authority. Trump v. Mazars

USA, LLP, 140 S.Ct. 2019 (2020). Thus, every subpoena that Congress or its committees

issue must serve a valid legislative purpose.

       78.      Determining if someone committed a crime and punishing what Congress

perceives is a crime is not a valid legislative action. Instead, the law calls such activity a

criminal prosecution and exclusively reserves that power to the Executive branch.

       79.      Likewise, Congress cannot merely investigate a matter simply because it

desires to expose the facts for the sake of exposure. Watkins v. United States, 354 U.S.

178, 200 (1957). In other words, everyone has natural curiosity, but Congress cannot

satiate its members’ curiosity and political desires simply by exposing information without

looking to legislate.

       80.      Additionally, even if Congress conducts an investigation to seek relevant

information to legislate, it must still tailor a specific subpoena to serve a valid purpose.



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Trump v. Mazars USA, LLP, 140 S.Ct. 2019, 2031 (2020). A subpoena may still be invalid

if the contemplated legislation would be unconstitutional. McGrain v. Daugherty, 273 u.S.

135, 171 (1927).

       81.    As pled above, the Defendants have repeatedly stated that their goal is to

hold individuals accountable for the events of January 6, 2021, and they have made

constitutionally baseless declarations of guilt and innocence simply because some targets

of subpoenas have chosen to assert legal privileges and rights not to produce documents

or testify. In other words, the Defendants have transformed themselves in a law

enforcement tool with free license to circumvent the Bill of Rights.

       82.    The Select Committee has not identified any legislative purpose served by

the Jones subpoena or the AT&T subpoena. It has not considered any draft legislation,

nor does H. Res. 503 permit it to engage in such a process. It has also not provided any

explanation for why its requests to Jones would further any valid legislative end.

       83.    H. Res. 503 has also presupposed that a crime has taken place, terming

the events of January 6, 2021 a “domestic terrorist attack.” The Select Committee now

seeks to investigate it, not to draft new legislation, but to find out “who done it” and ensure

that they are punished. That task is strictly the responsibility of the Executive Branch.

       84.    None of the information sought by the Jones subpoena or the AT&T

subpoena will even remotely inform a valid legislative purpose. Jones’ activities pertaining

to January 6, 2021 are protected by the First Amendment, which also provides a

corresponding right to privacy in his activities to coordinate peaceful and lawful protests.

       85.    Nothing that Jones can possibly provide the Select Committee will have any

bearing on any contemplated constitutional legislation, and it is only relevant to the




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Defendants’ witch-hunt against political opponents and putative prosecutions under 18

U.S.C. § 1505 and other criminal statutes.

            COUNT THREE – VIOLATION OF THE FIRST AMENDMENT

      86.    Paragraphs 1 through 85 are incorporated herein.

      87.    The documents that the Defendants seek from Jones through the Jones

subpoena fall into six broad categories and cover the time period December 19, 2020 to

January 21, 2021:

             a. First, they request all documents pertaining to political protests and

                demonstrations that Jones attended in the days preceding and after

                January 6, 2021.

             b. Second, they ask Jones to identify all communication methods that he

                used that are related to the political protests and demonstrations that

                they have requested him to produce documents on.

             c. Third, they have asked Jones to disclose all financial accounts

                pertaining to financial transactions, donations, speaking fees, and other

                fees that Jones received in connection with the political protests and

                demonstrations in the days preceding and after January 6, 2021. This

                includes the financial accounts for his business.

             d. Fourth, they have asked Jones to produce all documentation regarding

                his trips to Washington D.C. on or about January 5-6, 2021, including

                his hotel accommodations and security.

             e. Fifth, they have asked Jones to produce any documents that he has

                about fundraising for any of the protests and political demonstrations

                that he attend in the days preceding and after January 6, 2021.


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              f. Sixth, they have identified a list of individuals, including President

                 Trump, and asked Jones to produce any documents including

                 communications that he has had with them about the events

                 immediately preceding the protests in Washington D.C. against the

                 certification of the election.

      88.     In the AT&T subpoena, the Defendants also seek every phone call, text,

voicemail, and other telecommunication that Jones made between November 1, 2020

and January 31, 2021 as well as all telecommunications data associated with those

communications.

      89.     Each of the categories of documents, telecommunications, and data

requested by the Select Committee in its subpoena concern associational and expressive

activities protected by the First Amendment, including the right to free speech, the right

to petition the government for redress of grievances, and associational freedom. See

Buckley v. Valeo, 424 U.S. 1, 64-66 (1976). Closely correlating to these expressive rights

is the First Amendment right to privacy in group advocacy. NAACP v. Alabama, 357 U.S.

449 (1958).

      90.     Both the Jones subpoena and the AT&T subpoena violate both Jones’

expressive and associational rights under the First Amendment as well as his rights to

privacy and group advocacy. The Defendants have no legitimate purpose for probing

what they have requested from Jones, and no legislative action that they could possibly

contemplate can constitutionally be based on Jones’ activities. Their actions will

irreparably chill constitutionally protected political expression in the United States if

allowed to proceed.




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      91.      The Defendants also seek to probe activities that Jones conducted in his

capacity as a journalist. While the First Amendment may permit the Executive Branch to

compel a journalist’s testimony and production before a grand jury, it does not permit a

Congressional Committee on a witch-hunt for the sole purpose of exposing for the sake

of exposing to breach First Amendment privacy. Branzburg v. Hayes, 408 U.S. 665, 699-

700 (1972).

      92.      In his capacity as a journalist, Jones possesses no information relevant to

the carrying out of valid legislative purposes. He, however, retains a First Amendment

right as a journalist to protect his sources and the information that he has gathered from

congressional action that serves no legitimate legislative purpose.

      93.      Thus, the Jones subpoena and the AT&T subpoena violate Jones’ rights as

a journalist under the First Amendment.

              COUNT FOUR – VIOLATION OF THE FOURTH AMENDMENT

      94.      Paragraphs 1 through 93 are incorporated herein.

      95.      The Fourth Amendment protects a private individual’s right to be free from

unreasonable government searches and seizures as it pertains to their persons, houses,

papers, and effects, and it protects a person’s reasonable privacy expectations. Katz v.

United States, 389 U.S. 347, 351 (1967).

      96.      The Fourth Amendment also prohibits the Defendants from issuing

sweeping subpoenas untethered from valid legislative purposes. Oklahoma Press Pub.

Co. v. Walling, 327 U.S. 186, 196 (1946). All encompassing requests for personal,

nonofficial documents exceed Congress’s legitimate legislative power. Trump v. Mazars

USA, LLP, 140 S.Ct. 2019, 2040 (2020). Additionally, the fact that a third party stores a




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person’s cell phone data does not alter his privacy expectation or its reasonableness.

Carpenter v. United States, 138 S.Ct. 2206, 2217 (2018).

        97.    Both the Jones subpoena and the AT&T subpoena seek communications

and papers from Jones that are so broadly encompassing as to exceed the authorized

purpose of the Select Committee. McPhaul v. United States, 364 U.S. 372, 381 (1960).

Thus, even by congressional standards, the Jones subpoena is an unhinged fishing

expedition designed to skirt the Fourth Amendment and obtain private documents and

information that the United States could never get a search warrant for.

        98.    Coerced compliance with the Jones subpoena would violate Jones’ right to

be free from unlawful searches and seizures, and AT&T’s compliance with the AT&T

subpoena would violate Jones’ right to be free from unlawful searches and seizures as

well.

               COUNT FIVE – VIOLATION OF THE FIFTH AMENDMENT

        99.    Paragraphs 1 through 89 are incorporated herein.

        100.   The right to remain silent under the Fifth Amendment is so well-established

that it should be axiomatic even in Congressional proceedings.

        101.   Jones has informed the Defendants that he intends to exercise his Fifth

Amendment right to remain silent during his deposition, and they have informed his

counsel that they do not believe that he can properly assert that right.

        102.   The right to remain silent also encompasses broad document production

requests contained in subpoenas that seek to discover sources of potentially incriminating

evidence. United States v. Hubbell, 530 U.S. 27, 43-44 (2000).

        103.   Jones has informed the Defendants that he will assert his Fifth Amendment

right not produce documents in response to their broad requests because it would be akin


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to telling inquisitors “the combination to a wall safe.” Id. They have informed his counsel

that they do not believe that he can properly assert that right.

       104.   Rather than seek a determination from the Article III judiciary as to Jones

claims stated within this claim, the Defendants have communicated a serious expression

of intent to hold Jones in criminal contempt for refusing to comply with requests that are

unlawful and unconstitutional. They have further intimated an intent to arrest, imprison,

try, and punish him themselves, essentially appointing themselves judges to a dispute to

which they are a party.

       105.   Both with respect to Jones’ assertion of his Fifth Amendment right to remain

silent and his assertions of other objections including constitutional objections to

responding to the Defendants’ request, their intention to hold him in criminal contempt

and possibly punish him themselves violates Jones’ rights to due process under the Fifth

Amendment, which guarantees him the bare minimum of fairness that is well-established

at the common law: no man may be a judge in his own case.

COUNT SIX – VIOLATION OF THE STORED COMMUNICATIONS ACT (18 U.S.C. §
                               2702)

       106.   Paragraphs 1 through 105 are incorporated herein.

       107.   The Stored Communications Act provides that “a person or entity providing

electronic communication service to the public shall not knowingly divulge to any person

or entity the contents of a communication while in electronic storage by that service.” 18

U.S.C. § 2702(a)(1).

       108.   None of the exceptions enumerated in 18 U.S.C. § 2702(a)(1) apply.

       109.   Jones has not given his consent to AT&T to produce the records requested

by the AT&T subpoena.



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       110.   Congress has not amended 18 U.S.C. § 2702(a)(1) to create a specialized

exception for itself or for the Select Committee.

       111.   18 U.S.C. § 2702(a)(1) bars the Defendants from obtaining the

communications requested in their AT&T subpoena.

       112.   To the extent that the Defendants seek the production of non-

communication records and information, 18 U.S.C. § 2702(c) prohibits such a disclosure,

and no exception applies.

       113.   Thus, AT&T’s compliance with the subpoena and the Defendants’ issuance

of one violates 18 U.S.C. § 2702(c).

                                 PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff seek declaratory and injunctive relief as follows:

         A. A declaratory judgment that the Select Committee is not a lawfully

              constituted committee and that its actions to date have been wholly without

              legal authority;

         B. A declaratory judgment that the Defendants have violated the Rules of the

              United States House of Representatives by issuing a deposition subpoena

              to Jones without Defendant Thompson first consulting with a duly appointed

              minority ranking member on the Select Committee;

         C. A declaratory judgment that the subpoena to Alex Jones and the subpoena

              to AT&T serve no valid legislative purposes and exceed the Select

              Committee’s and Congress’s constitutional authority in violation of the

              separation of powers principles contained in the United States Constitution;




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D. A declaratory judgment that coerced compliance with the subpoena to Alex

   Jones and the subpoena to AT&T violate Alex Jones’ First Amendment

   rights.

E. A declaratory judgment that coerced compliance with the subpoena to Alex

   Jones and the subpoena to AT&T violate Alex Jones’ Fourth Amendment

   rights.

F. A declaratory judgment that coerced compliance with the subpoena to Alex

   Jones and the subpoena to AT&T violate Alex Jones’ Fifth Amendment

   rights.

G. A declaratory judgment that the issuance of the AT&T subpoena and

   coerced compliance violates the Stored Communications Act (18 U.S.C. §

   2702).

H. An injunction quashing the subpoena issued to Alex Jones and prohibiting

   its enforcement by the Defendants.

I. An injunction prohibiting the Defendants from imposing sanctions on Alex

   Jones for noncompliance with the subpoena issued to him.

J. An injunction quashing the subpoena issued to AT&T and prohibiting its

   enforcement by the Defendants.

K. An injunction prohibiting the Defendants from imposing sanctions on AT&T

   for noncompliance with the subpoena issued to it.

L. Reasonable costs and attorneys’ fees; and

M. Any and all other relief that the Court deems just and proper.




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                                                     The Plaintiff

                                                     /s/ Norman A. Pattis /s/
                                                     /s/ Cameron L. Atkinson /s/
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6Mr. Atkinson has submitted an application for admission to the bar of this Court and
meets all of the requirements for admission. He awaits admission pursuant to the rules
of this Court.

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